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                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF FLORIDA


IN THE MATTER OF:                                      CASE NO. 19-11795-LMI

GABINO R CABALLERO
JUANA CABALLERO                                         CHAPTER 13

      Debtors,
________________________________/


                           CERTIFICATE OF SERVICE

    I HEREBY CERTIFY that a true copy of the Objection to Claim of Wells Fargo Bank, N.A

claim 4-1., D.E#35 was served on this 12 day of June 2019 to all parties listed on the attached

Mailing Matrix and all others set forth in the NEF.


                                                       CORONA LAW FIRM, P.A.



                                                       /s/ Ricardo Corona, Esq.
                                                       RICARDO CORONA, ESQ.
                                                       Florida Bar No.: 111333
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                                      Credit Mailing Matrix
                                     Case No.: 19-11795-LMI

Office of US Trustee                              Nancy K. Neidich, Chapter 13 Trustee
51 SW 1st Avenue, Ste 1204                        PO Box 279806
Miami, FL 33130                                   Miramar, FL 33027


Gabino R. Caballero
Juana Caballero
3925 SW 125 Avenue
Miami, FL 33175
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By U.S. Certified Mail
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Raleigh, NC 27605
Email: BKChapter13@WellsFargo.com

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Wells Fargo Bank, N.A. dba Wells Fargo Auto
c/o C. Allen Parker
Interim CEO &m President
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